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   9 TIMOTHY J. SULLIVAN, SHARON P. ROBINSON, and MARC H. MORIAL
  10
                                     UNITED STATES DISTRICT COURT
  11
                                 CENTRAL DISTRICT OF CALIFORNIA
  12
  13 CHAILE STEINBERG,                                   Case No. 8:13-CV-01797 GHK (PJWx)
     Derivatively on Behalf of
  14 CORINTHIAN COLLEGES, INC.                           STIPULATION OF DISMISSAL
                                                         UNDER FED. R. CIV. P. 41(a)
  15                    Plaintiff,
  16            v.                                       Judge: Hon. George H. King
                                                         Ctrm: 650
  17 JACK D. MASSIMINO, KENNETH S.
     ORD, ROBERT D. BOSIC, BETH A.
  18 WILSON, PAUL R. ST. PIERRE,
     TERRY O. HARTSHORN, HANK
  19 ADLER, ROBERT LEE, ALICE T.
     KANE, JOHN M. DIONISIO, LINDA
  20 AREY SKLADANY, TIMOTHY J.
     SULLIVAN, SHARON P.
  21 ROBINSON, and MARC H. MORIAL,
  22           Defendants,
  23            -and-
  24 CORINTHIAN COLLEGES, INC.,
     a Delaware corporation,
  25
                 Nominal Defendant.
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                               STIPULATION OF DISMISSAL UNDER FED. R. CIV. P. 41(a)
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   1                WHEREAS on May 18, 2015, pursuant to the parties’ joint stipulation,
   2 the Court vacated all pending dates and deadlines and stayed all proceedings in this
   3 action for 90 days, and ordered the parties to meet and confer and to present their
   4 views regarding a revised proposed schedule or other appropriate disposition of this
   5 action within 20 days of the lifting of the stay;
   6                WHEREAS the stay expired by its terms on August 17, 2015, and the
   7 parties have met and conferred regarding the appropriate disposition of this action;
   8                WHEREAS the parties agree that this shareholder derivative action
   9 should be dismissed without prejudice in the light of the voluntary petition for relief
  10 under Chapter 11 of the Bankruptcy Code filed by nominal defendant Corinthian
  11 Colleges, Inc. on May 4, 2015, and the subsequent confirmation of its Chapter 11
  12 Plan of Liquidation on August 28, 2015 (see In re Corinthian Colleges, Inc. et al.,
  13 No. 15-10952 (KJC) (Bankr. D. Del.));
  14                IT IS HEREBY STIPULATED AND AGREED by and among the
  15 undersigned counsel that:
  16                1. This action is voluntarily dismissed in its entirety without prejudice
  17 pursuant to Federal Rule of Civil Procedure 41(a).
  18                2. All parties shall bear their own costs.
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                          STIPULATION OF DISMISSAL UNDER FED. R. CIV. P. 41(a)
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  15 Pursuant to L.R. 5-4.3.4, I, Robert L. Dell Angelo, attest that the above signatories
     have authorized this filing and concur in its content.
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